           Case 2:11-cr-00190-KJM Document 76 Filed 06/01/12 Page 1 of 3


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4
     Attorney for Defendant
     Nicholas Ramirez
5
                          UNITED STATES DISTRICT COURT
6
                         EASTERN DISTRICT OF CALIFORNIA
7

8
     UNITED STATES OF AMERICA         )
9                                     )         No. Cr.S-11-190 MCE
                     Plaintiff        )
10                                    )         WAIVER OF PERSONAL APPEARANCE
               vs.                    )
11                                    )         AND APPROVAL
                                      )
12
     NICHOLAS RAMIREZ                 )
                                      )
13
                     Defendant        )
14                                    )

15        Pursuant to Federal Rules of Criminal Procedure, Rules 10

16   and 43(c)(3), defendant, Nicholas Ramirez hereby waives the

17   right to be present in person in open court upon the hearing of

18   any motion or other pre-trial proceeding in this cause,
19   including arraignment on the Superseding Indictment in this case
20
     (Fed.Rule.Crim.Proc. Rule 10) except that he will agree to be
21
     personally present for any plea of guilty, sentencing or jury
22
     trial, and he agrees to be personally present in court when
23
     ordered by the court to be present.
24
          Defendant Ramirez, hereby requests the court to proceed
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     during every absence of him which the court may permit pursuant



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             Case 2:11-cr-00190-KJM Document 76 Filed 06/01/12 Page 2 of 3


1    to this waiver; agrees that his interests will be deemed
2    represented at all times by the presence of his attorney, the
3    same as if defendant Ramirez were personally present and further
4    agrees to be present in court ready for hearing any day and hour
5    the court may fix in his absence.
6           Defendant Ramirez further acknowledges that he has been
7    informed of his rights under Title 18 U.S.C. sections 3161-3174
8    of the Speedy Trial Act, and authorized his attorney to set
9    times and delays und the Act without defendant Davis being
10   present and agrees to waive any and all time under both the
11   Sixth Amendment to the Constitution and the Speedy Trial Act
12   regarding his rights to a speedy public jury trial.
13          Defendant Ramirez further acknowledges that he has received
14   a copy of the superseding indictment and that he pleads not
15   guilty.
16          DATED: May 29   2012                /S/NICHOLAS RAMIREZ
                                                Nicholas Ramirez
17                                              Defendant
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           Case 2:11-cr-00190-KJM Document 76 Filed 06/01/12 Page 3 of 3


1         Michael B. Bigelow, counsel for Nicholas Ramirez agrees
2    with this waiver and acknowledges that defendant Ramirez has
3
     received a copy of the superseding indictment and enters a plea
4
     of not guilty.
5
          DATED:   May 24, 2012               /S/MICHAEL B. BIGELOW
6                                             Michael B. Bigelow
                                              Attorney for Defendant
7
          Note:       Document with original signatures maintained with
8                     counsel.

9
                                    APPROVAL
10

11
     SO APPROVED
12
     DATED: June 1, 2012.
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